Case 2:21-cv-01299-JCM-DJA Document 1-2 Filed 07/08/21 Page 1 of 7




                    EXHIBIT “B”
              Amended Complaint, filed June 9, 2021
Case 2:21-cv-01299-JCM-DJA Document 1-2 Filed 07/08/21 Page 2 of 7
Case 2:21-cv-01299-JCM-DJA Document 1-2 Filed 07/08/21 Page 3 of 7
Case 2:21-cv-01299-JCM-DJA Document 1-2 Filed 07/08/21 Page 4 of 7
Case 2:21-cv-01299-JCM-DJA Document 1-2 Filed 07/08/21 Page 5 of 7
Case 2:21-cv-01299-JCM-DJA Document 1-2 Filed 07/08/21 Page 6 of 7
Case 2:21-cv-01299-JCM-DJA Document 1-2 Filed 07/08/21 Page 7 of 7
